Case 1:20-cv-02702-RM-SKC Document 116-4 Filed 01/12/22 USDC Colorado Page 1 of 5




   CONFIDENTIAL                                               SPECTRA000372
Case 1:20-cv-02702-RM-SKC Document 116-4 Filed 01/12/22 USDC Colorado Page 2 of 5




   CONFIDENTIAL                                               SPECTRA000373
Case 1:20-cv-02702-RM-SKC Document 116-4 Filed 01/12/22 USDC Colorado Page 3 of 5




   CONFIDENTIAL                                               SPECTRA000374
Case 1:20-cv-02702-RM-SKC Document 116-4 Filed 01/12/22 USDC Colorado Page 4 of 5




   CONFIDENTIAL                                               SPECTRA000375
Case 1:20-cv-02702-RM-SKC Document 116-4 Filed 01/12/22 USDC Colorado Page 5 of 5




   CONFIDENTIAL                                               SPECTRA000376
